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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                    LOUISVILLE DIVISION


UNITED STATES OF AMERICA,                               )
                                                        )
                  Plaintiff,                            )
                                                        )
v.                                                      )
                                                        )
                                                        )       Criminal No. 3:22-CR-88-DJH
PHIL PASCOE, et al.                                     )
                                                        )
                                                        )
                  Defendants.                           )


                                                ORDER

           This matter is before the Court on the joint motion of Defendants Phil Pascoe, Scott Tubbs,

and Monica Pascoe, to continue trial date in this matter. Having considered the Motion, and being

otherwise well advised, IT IS ORDERED that the Motion is GRANTED. The JURY TRIAL set

for April 1, 2024, is HEREBY CANCELLED.

           IT IS FURTHER ORDERED AND ADJUDGED that period of delay resulting from the

continuance of this action be, and the same hereby is, excluded in computing the time within the

trial of the offenses charged herein must commence pursuant to 18 U.S.C. § 3161(h)(7)(A) and

(B)(ii).
